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                       CLERK, U.S. DISTRICT COURT



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 2                   CENTRAL DISTRICT OF CALIFORNIA

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 6                                UNITED STATES DISTRICT COURT
 7                              CENTRAL DISTRICT OF CALIFORNIA
 8
     UNITED STATES OF AMERICA,    )
 9                                )
                                  )
10                     Plaintiff, ) CASE NO.
                                  )
11                v.              )        5:20-MJ-00577-DUTY
   VICTOR MANUEL                  )
12                                ) ORDER OF DETENTION
   ESPINOZA-SEPULVEDA,            )
13                                )
                                  )
14                     Defendant. )
                                  )
15
16                                                           I.
17       A. ( )         On motion of the Government in a case allegedly involving:
18            1. ( )        a crime of violence.
19            2. ( )        an offense with maximum sentence of life imprisonment or death.
20            3. ( )        a narcotics or controlled substance offense with maximum sentence
21                          of ten or more years .
22            4. ( )        any felony - where the defendant has been convicted of two or more
23                          prior offenses described above.
24            5. ( )        any felony that is not otherwise a crime of violence that involves a
25                          minor victim, or possession or use of a firearm or destructive device
26                          or any other dangerous weapon, or a failure to register under 18
27                          U.S.C § 2250.
28       B. (✔)         On motion by the Government / ( ) on Court’s own motion, in a case

                                    ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

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 1                         allegedly involving:
 2            (✔)          On the further allegation by the Government of:
 3            1. (✔)          a serious risk that the defendant will flee.
 4            2. ( )          a serious risk that the defendant will:
 5                   a. ( ) obstruct or attempt to obstruct justice.
 6                   b. ( ) threaten, injure, or intimidate a prospective witness or juror or
 7                            attempt to do so.
 8       C. The Government ( ) is/ (✔) is not entitled to a rebuttable presumption that no
 9            condition or combination of conditions will reasonably assure the defendant’s
10            appearance as required and the safety of any person or the community.
11
12                                                          II.
13       A. (✔)            The Court finds that no condition or combination of conditions will
14                         reasonably assure:
15            1. (✔)          the appearance of the defendant as required.
16                   (✔)      and/or
17            2. (✔)          the safety of any person or the community.
18       B. ( )            The Court finds that the defendant has not rebutted by sufficient
19                         evidence to the contrary the presumption provided by statute.
20
21                                                         III.
22       The Court has considered:
23       A. the nature and circumstances of the offense(s) charged, including whether the
24            offense is a crime of violence, a Federal crime of terrorism, or involves a minor
25            victim or a controlled substance, firearm, explosive, or destructive device;
26       B. the weight of evidence against the defendant;
27       C. the history and characteristics of the defendant; and
28       D. the nature and seriousness of the danger to any person or to the community.

                                    ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

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 1                                                      IV.
 2       The Court also has considered all the evidence adduced at the hearing and the
 3       arguments         and/or    statements       of    counsel,      and     the    Pretrial Services
 4       Report/recommendation.
 5
 6                                                         V.
 7       The Court bases the foregoing finding(s) on the following:
 8       A. (✔)         As to flight risk:
 9        Unverified background
          No bail resources
10
          Immigration status/ties to foreign country
11        Prior failure to appear
          Substance abuse
12
13
14
15
16       B. (✔)         As to danger:
17        Criminal history
          Substance abuse
18
19
20
21
22
23
24                                                      VI.
25       A. ( )         The Court finds that a serious risk exists that the defendant will:
26                   1. ( ) obstruct or attempt to obstruct justice.
27                   2. ( ) attempt to/ ( ) threaten, injure or intimidate a witness or juror.
28

                                 ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

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 1       B. The Court bases the foregoing finding(s) on the following:
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 6
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 8
 9                                                  VII.
10
11       A. IT IS THEREFORE ORDERED that the defendant be detained prior to trial.
12       B. IT IS FURTHER ORDERED that the defendant be committed to the custody
13            of the Attorney General for confinement in a corrections facility separate, to
14            the extent practicable, from persons awaiting or serving sentences or being
15            held in custody pending appeal.
16       C. IT IS FURTHER ORDERED that the defendant be afforded reasonable
17            opportunity for private consultation with counsel.
18       D. IT IS FURTHER ORDERED that, on order of a Court of the United States
19            or on request of any attorney for the Government, the person in charge of the
20            corrections facility in which the defendant is confined deliver the defendant
21            to a United States marshal for the purpose of an appearance in connection
22            with a court proceeding.
23
24
25
26   DATED: October 14, 2021
                                                  UNITED STATES MAGISTRATE JUDGE
27
28

                             ORDER OF DETENTION AFTER HEARING (18 U.S.C. §3142(i))

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